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 5   Midland Funding LLC
 6                             IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEVADA
 7

 8
       NOEL FUENTES,                                    )
 9                                                      )   Case No. 2:20-cv-01796-JAD-VCF
                               Plaintiff,               )
10                                                      )   Complaint Filed: September 25, 2020
                          v.                            )
11                                                      )   STIPULATION AND ORDER FOR
       MIDLAND FUNDING LLC; EXPERIAN                    )   SECOND EXTENSION OF TIME
12
       INFORMATION SOLUTIONS, INC.;                     )   FOR DEFENDANT MIDLAND
13     EQUIFAX INFORMATION SERVICES,                    )   FUNDING LLC TO RESPOND TO
       LLC,                                             )   COMPLAINT
14                                                      )
                               Defendants.              )               (Second Request)
15

16
            Plaintiff Noel Fuentes (“Plaintiff”), and Defendant Midland Funding LLC (“Midland”)
17
     (collectively, the “Parties”), by and through counsel, hereby stipulate and agree to an additional
18

19   fourteen (14) day extension of time for Midland to respond to Plaintiff’s Complaint, and hereby

20   states as follows:

21          1.      This is Midland's second stipulation for extension of time to respond to Plaintiff’s
22   Complaint.
23
            2.      On or about September 25, 2020, Plaintiff filed this lawsuit. Dkt. No. 1.
24
            3.      Midland was served on October 6, 2020, thereby making Midland’s response due
25
     by October 27, 2020.
26

27          4.      Midland and Plaintiff filed a stipulation seeking to extend Midland's deadline to

28   respond to the Complaint through and including November 10, 2020, which this Court granted.
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 1          5.     Midland has been diligently investigating Plaintiff's claims, and the Parties have
 2   been discussing potential resolution. However, Midland needs additional time to research the
 3
     allegations in the Complaint to prepare a proper response and to explore the possibility of early
 4
     resolution.
 5
            6.     Based on the above, Midland hereby requests a brief extension of time to respond
 6

 7   to the Complaint through and including November 24, 2020.

 8          7.     This extension is not sought for purposes of delay and will not prejudice Plaintiff.

 9          8.      Plaintiff, through counsel, agrees to the extension through and including November
10
     24, 2020.
11

12
     Stipulated and Agreed: November 5, 2020
13    /s/ Brandi M. Planet                            By: /s/ Steven A. Alpert
      Brandi M. Planet, Esq., NV #11710               Steven A. Alpert, Esq., NV #8353
14
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18    Midland Funding LLC                             Attorneys for Plaintiff Noel Fuentes

19
20                                               ORDER
21          IT IS SO ORDERED.
22

23                                                 ____________________________________
24                                                 UNITED STATES MAGISTRATE JUDGE
25

26

27                                                          11-6-2020
                                                   Dated:______________________________
28


                                                    -2-
